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EEOC Fenn 161-B (01/2022)           U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                      NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
 To:   Ms. Emily McKenzie                                                        From:    Cleveland Field Office
       6208 Skadden Rd.                                                                   1240 E 9th St, Suite 3001
       Sandusky, OH 44870                                                                 Cleveland, OH 44199



 EEOC Charge No.                                      EEOC Representative                                                 Telephone No.
 532-2023-01961                                       Legal Unit                                                          (267) 589-9707



                                                                                          (See also the additional information enclosed with thisform.)

NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)
       Less than 180 days have elapsed since the filing date. I certify that the Commissions processing of this charge will not be completed within 180
       days from the filing date.
       The EEOC is terminating its processing of this charge.



Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) ofthe alleged EPA underpayment. This means that backpay due for
any violations tllat occurred more titan 2 years (3 years) before you file suit may not be collectible.


If you file suit, based on this charge, please send a copy of your court complaint to this office.

                                                  On behalf of the Commission

                                                  Digitally Signed By: Rosemarie Rhodes
                                                  04/01/2023
 Enclosures(s)                                    Rosemarie Rhodes
                                                  Director


 cc:    Rachel Sabo Friedmann, Esq.
        Casey Mayell, Esq.
        The Friedmann Firm


        David A Campbell, Esq.
        Madeline Kelley, Esq.
        Lewis Brisbois Bisgaard & Smith LLP
